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                COMPOSITE
                  EXHIBIT 2
            (File Under Seal)
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                                                                    1


                                       UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF NEW YORK

                                       CASE: 15-cv-07433-RWS

   VIRGINIA GIUFFRE,

                 Plaintiff ,

   V.

   GHISLAINE MAXWELL,

                 Defendant.
   ___________ /

                   VIDEOTAPED DEPOSITION OF TONY FIGUEROA

                                   Volume 1 of 2

                                   Pages 1 - 157



                   Taken at the Instance of the Defendant



        DATE:              Friday, June 24 , 2016

        TIME :             Commenced:     8:59 a.m.
                           Concluded:     1:22 p.m.
        PLACE:             Southern Reporting Company
                           B. Paul Katz Professional Center
                           (SunTrust Building)
                           One Florida Park Drive South
                           Suite 214
                           Palm Coast, Florida 32137

        REPORTED BY:       LEANNE W. FITZGERALD, FPR
                           Florida Professional Reporter
                           Court Reporter and Notary Public


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                                                                      96
 1              Q     I guess my question is:        Did she ever tell
 2        you that she had started as a regular masseuse for
 3        him and then transitioned to something other than a
 4        masseuse?
 5              A     No      She never said that it transitioned .
 6        But she ended up explaining to me what had happened
 7        before , so ...

 8              Q     What has -- what is that?
 9              A     That her and Ms. Maxwell and Jeffrey would
10        obviously be doing stuff, all three of them
11        together.    Like I said, that they would all go out
12       to clubs to pick up girls and try and find them to
13       bring back for Jeffrey.         And then she told me about
14       how, like I said, her and Ms. Maxwell and Jeffrey
15       were all intimate together on multiple occasions .
16              Q     When did she tell you this?
17             A      I'm not exactly sure on the dates .
18              Q     Was it while you were still together?
19             A      Yes .
20              Q     Did you -- had you met Ms. Maxwell?
21             A      Yeah, I had met her a couple of times .
22             Q      When did you meet Ms. Maxwell?
23             A      Dates, I ' m unsure of .    But it was pretty
24       much, like I said, at Jeffrey's house in the
25       kitchen.

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                                                                      182
 i              Foundation.     Vague as to time and place .
 2        BY MR. EDWARDS:

 3              Q     Sorry.    Let me rephrase the question.
 4                    During this 2001 period, if you were
 5        driving Virginia and another girl to the house, what
 6        type of girls would you be driving?
 7                    MS. MENNINGER:      Objection.     Form.
 8              Foundation.
 9              A     Pretty much like young-looking teenager
10       girls.     I mean, 16, 17.      Really pretty.      You know .
11       BY MR. EDWARDS:

12              Q     All right .    How did you know that that 1 s
13       what was being requested, that that age range and
14       that look and that 1 s what was
15              A     I just assumed that that ' s what most guys
16       are into, you know, so ...
17              Q     Girls who looked like Virginia?
18             A      Yeah.

19              Q     All right .    When you would bring girls
20       over to the house, were you looking for some
21       professional masseuse or somebody with massage
22       experience?
23             A      Like I said, I would just get friends that
24       I knew from school , so .. .
25             Q      And that ' s what Jeffrey wanted?

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                                                                         193
 1       you can think to one of the occasions where you
 2       brought a girl into the kitchen other than
 3       Virginia
 4             A       Uh-huh (affirmative).
 5             Q          and Ms. Maxwell is in the kitchen, did
 6       you and this other girl that you were bringing over

 7       sit there and together have this small talk with

 8       Ms. Maxwell?
 9             A       Yeah.
10                     MS. MENNINGER:     Objection.      Form.

11             Foundation .
12             A       Yes.
13       BY MR. EDWARDS:

14             Q       And how long would you and one of these
15       other girls sit there and have this small talk with

16       Ms. Maxwell?
17             A       No more than , like, 10 or 15 minutes .
18             Q       All right.    And what were you waiting for?

19             A       Pretty much her to take them upstairs.

20       And then I would leave.
21                     Like, I would wait for them to be , like,
22       "All right.      Well, we're ready. "
23                     And I would be, like , "All right.            See you
24       later. ''    And then I ' d leave.    And they would go do
25       whatever .

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                                                                               200

 1                         MS . MENNINGER:      Objection .    Form.
 2                 Foundation.
 3                 A       For Jeffrey.
 4          BY MR. EDWARDS:
 5                 Q       All right .    Let me fix this.         Ghislaine
 6          when Ghislaine Maxwell would call you during the
 7          time that you were living with Virginia, she would
 8          ask you what, specifically?
 9                         MS. MENNINGER:      Objection.     Form .

10                 Foundation.

11                 A       Just if I had found any other girls just

12          to bring to Jeffrey .
13          BY MR. EDWARDS:
14                 Q       Okay .
15                 A       Pretty much every time there was a
16          conversation with any of them, it was either asking
17          Virginia where she was at, or asking her to get

18          girls, or asking me to get girls.
19                Q        All right.     Let's go to that second
20          category you just identified, which is asking
21          Virginia to get girls.           How many times were you in a
22          room where specifically Ghislaine Maxwell would ask
23          Virginia to bring girls?
24                A        None that I can recall .

25                Q        Okay .   How many times -- when you say they

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                                                                            245
 1                 Q       Okay.    Any of the girls that you are aware
 2          of having gone to the house              either because you
 3          brought them or Virginia -- as you sit here today ,
 4          do you believe any of them were brought over to be a
 5          legitimate masseuse?
 6                         MS. MENNINGER:       Objection.    Form.
 7                 Foundation.       Opinion.
 8                 A       Nope.
 9          BY MS. MENNINGER:
10                 Q       All right.     How long aft er Virginia left
11          to go to Thailand did you continue to bring girls to
12          Jeffrey Epstein?
13                A        Not, like, at all.       Maybe, like, once.
14          Like I said, pretty much after she left and did not

15          come back, he was gone, I think, also.                And then he
16          came back and was, like, "Oh, where is Virginia?"
17          And that was pretty much, like I said, he was just
18          throwing in, "Can you bring somebody b y ," just to
19          make it seem like he wanted me to still be around.
20          I was, like -- and pretty much after she was gone,
21          that was basically it.
22                Q       All right.     You described that every time
23          that you would bring girls, Jeffrey Epstein would
24          pay you $200 apiece; correct?
25                A       Uh-huh (affirmative) .

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                                                                     257
 1                             CERTIFICATE OF OATH
 2

 3   STATE OF FLORIDA

 4   COUNTY OF FLAGLER
 5

 6

 7             I, the undersigned authority, certify that TONY
 8       FIGUEROA personally appeared before me on
 9       July 5, 2016, and was duly sworn .

10
11             WITNESS my hand and official seal this 5th day

12       of July, 2016 .
13

14

15

16
17
18
19
                                Leanne W. Fitzgerald
20                              Notary Public - State of Florida
                                My Commission No. FF060921
21                              Expires: February 8, 2018

22                              Digital Certificate Authenticated
                                By Symantec
23
24
25

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